                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                              :      CHAPTER 7
                                                    :
RANAE ANN HANDELONG,                                :      BANKR. NO. 22-10292-pmm
                                                    :
                      Debtor.                       :

                                ORDER DENYING DISCHARGE

              AND NOW, this ____ day of July, 2023, upon consideration of the U. S. trustee's

Motion to Deny Discharge, and the Debtor’s response, if any, it is now, therefore ORDERED,

that the U. S. trustee’s Motion is GRANTED and the Debtor’s request for a discharge in this case

is hereby DENIED as she is ineligible for a discharge pursuant to 11 U.S.C. § 727(a)(8).




                                                    ______________________________
                                                    Honorable Patricia M. Mayer
                                                    United States Bankruptcy Judge
